             Case MDL No. 3114 Document 67 Filed 04/25/24 Page 1 of 1




                    BEFORE THE UNITED STATES JUDICIAL PANEL
                             ON MULTIDISTRICT LITIGATION
In re: AT&T Inc. Customer Data Security                                       MDL No. 3114
Breach Litigation

                               NOTICE OF RELATED ACTION
       Pursuant to Rule 6.2(d) of the Rules of Procedure for the United States Judicial Panel on

Multidistrict Litigation, Plaintiff Brian Schaefer hereby notifies the Clerk of the Panel that the

following action is a related action currently pending in a federal district court:

 Schaefer v. AT&T, Inc., and AT&T Mobility LLC, N.D. Georgia, C.A. No. 1:24-cv-01752-VMC

The Docket Sheet and Complaint for the matter are attached hereto as Exhibit 1.


Date: April 25, 2024                           /s/E. Michelle Drake
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                                               Plaintiff’s Counsel in Schaefer v. AT&T, Inc., et al.,
                                               No. 1:24-cv-01752-VMC (N.D. Ga.)
